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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS

 Case number (if known):                                    Chapter       11
                                                                                                                  Check if this is an
                                                                                                                     amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                       06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Entrada Development, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8     8      –      2      0        5    3         8   1     2

4.   Debtor's address                  Principal place of business                                    Mailing address, if different from principal
                                                                                                      place of business

                                       6 Candleleaf Ct
                                       Number        Street                                           Number      Street


                                                                                                      P.O. Box



                                       The Hills                          TX       78738
                                       City                               State    ZIP Code           City                            State   ZIP Code


                                                                                                      Location of principal assets, if different
                                       Travis                                                         from principal place of business
                                       County



                                                                                                      Number      Street




                                                                                                      City                            State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




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Debtor Entrada Development, LLC                                                         Case number (if known)

7.   Describe debtor's business        A. Check one:

                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above

                                       B. Check all that apply:

                                        Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)

                                        Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             5      3      1      3

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
                                        Chapter 9
     A debtor who is a "small           Chapter 11. Check all that apply:
     business debtor" must check
     the first sub-box. A debtor as
                                                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                             recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                             income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                           in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.
                                                          The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).


                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.


                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                        Chapter 12




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Debtor Entrada Development, LLC                                                           Case number (if known)

9.   Were prior bankruptcy              No
     cases filed by or against
     the debtor within the last 8       Yes. District Western District of Texas                When 05/02/2023         Case number 23-10317-hc
     years?                                                                                            MM / DD / YYYY
                                                  District                                      When                    Case number
     If more than 2 cases, attach a
                                                                                                       MM / DD / YYYY
     separate list.
                                                  District                                      When                    Case number
                                                                                                       MM / DD / YYYY

10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes. Debtor PDG Prestige, Inc.                                       Relationship Manager
    affiliate of the debtor?
                                                    District Western District of Texas                        When           02/15/2021
     List all cases. If more than 1,                                                                                         MM / DD / YYYY
     attach a separate list.                        Case number, if known 21-30107


                                                    Debtor                                                    Relationship

                                                    District                                                  When
                                                                                                                             MM / DD / YYYY
                                                    Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.


                                        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.


12. Does the debtor own or              No
    have possession of any
    real property or personal
                                        Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
                                                  needed.
    property that needs
                                                  Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                        related assets or other options).


                                                   Other

                                                  Where is the property?
                                                                               Number      Street




                                                                               City                                     State        ZIP Code

                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency
                                                               Contact name

                                                               Phone




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Debtor Entrada Development, LLC                                                          Case number (if known)


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds
                                        Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.

14. Estimated number of                 1-49                              1,000-5,000                           25,001-50,000
    creditors
                                        50-99                             5,001-10,000                          50,001-100,000
                                        100-199                           10,001-25,000                         More than 100,000
                                        200-999
15. Estimated assets                    $0-$50,000                        $1,000,001-$10 million                $500,000,001-$1 billion
                                        $50,001-$100,000                  $10,000,001-$50 million               $1,000,000,001-$10 billion
                                        $100,001-$500,000                 $50,000,001-$100 million              $10,000,000,001-$50 billion
                                        $500,001-$1 million               $100,000,001-$500 million             More than $50 billion
16. Estimated liabilities               $0-$50,000                        $1,000,001-$10 million                $500,000,001-$1 billion
                                        $50,001-$100,000                  $10,000,001-$50 million               $1,000,000,001-$10 billion
                                        $100,001-$500,000                 $50,000,001-$100 million              $10,000,000,001-$50 billion
                                        $500,001-$1 million               $100,000,001-$500 million             More than $50 billion
              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative            this petition.
    of debtor
                                        I have been authorized to file this petition on behalf of the debtor.

                                        I have examined the information in this petition and have a reasonable belief that the information is
                                         true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 11/07/2023
                                                      MM / DD / YYYY



                                          X /s/ Michael Dixson
                                              Signature of authorized representative of debtor
                                              Michael Dixson
                                              Printed name
                                              President
                                              Title




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Debtor Entrada Development, LLC                                               Case number (if known)

18. Signature of attorney         X /s/ Joyce W. Lindauer                                         Date   11/07/2023
                                     Signature of attorney for debtor                                    MM / DD / YYYY

                                     Joyce W. Lindauer
                                     Printed name
                                     Joyce W. Lindauer
                                     Firm name
                                     Joyce W. Lindauer Attorney, PLLC
                                     Number          Street
                                     1412 Main Street, Suite 500

                                     Dallas                                               TX              75202
                                     City                                                 State           ZIP Code


                                     (972) 503-4033                                       joyce@joycelindauer.com
                                     Contact phone                                        Email address
                                     21555700                                             TX
                                     Bar number                                           State




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                                       UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF TEXAS
                                                AUSTIN DIVISION
  IN RE:    Entrada Development, LLC                                               CASE NO

                                                                                  CHAPTER     11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/7/2023                                          Signature   /s/ Michael Dixson
                                                                    Michael Dixson
                                                                    President




Date                                                    Signature
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                        Internal Revenue Service
                        Centralized Insolvency Operations
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        Internal Revenue Service
                        Centralized Insolvency Office
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        McCalla Raymer Leibert Pierce, LLC
                        1320 Greenway Drive
                        Suite 780
                        Irving, TX 75038


                        Michael Dixson
                        6 Candleleaf Court
                        The Hills, TX 78738



                        Pedernales Electric Cooperative
                        1949 W Whitestone Blvd
                        Cedar Park, TX 78613



                        Texas Comptroller of Public Accounts
                        Revenue Accting Div - Bankr Section
                        PO Box 13528
                        Austin, TX 78711-3528


                        Texas Workforce Commission
                        101 E. 15th Street
                        Austin, TX 78778-0001



                        Travis County Tax Assessor
                        General Correspondence
                        PO Box 1748
                        Austin, TX 78767


                        United States Attorney General
                        Department of Justice
                        950 Pennsylvania Ave., N.W.
                        Washington, DC 20530
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                        United States Trustee
                        903 San Jacinto
                        Suite 230
                        Austin, TX 78701


                        Velocity Mortgage
                        7000 N Mopac Expy
                        Austin, TX 78731
